Case 22-12757-amc   Doc   Filed 02/05/25 Entered 02/05/25 10:40:24   Desc Main
                          Document      Page 1 of 6
Case 22-12757-amc   Doc   Filed 02/05/25 Entered 02/05/25 10:40:24   Desc Main
                          Document      Page 2 of 6
Case 22-12757-amc   Doc   Filed 02/05/25 Entered 02/05/25 10:40:24   Desc Main
                          Document      Page 3 of 6


                                February 5, 2025




                                      Savanna Pacino
                                      Savanna Pacino
Case 22-12757-amc   Doc   Filed 02/05/25 Entered 02/05/25 10:40:24   Desc Main
                          Document      Page 4 of 6
Case 22-12757-amc   Doc   Filed 02/05/25 Entered 02/05/25 10:40:24   Desc Main
                          Document      Page 5 of 6
Case 22-12757-amc   Doc   Filed 02/05/25 Entered 02/05/25 10:40:24   Desc Main
                          Document      Page 6 of 6
